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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 23-80101-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and CARLOS DE OLIVEIRA,

        Defendants.
  ____________________________________/

        ORDER GRANTING IN PART DEFENDANTS’ MOTIONS TO CONTINUE
          PRE-TRIAL DEADLINES AND DENYING WITHOUT PREJUDICE
                       MOTION TO ADJOURN TRIAL

         THIS MATTER comes before the Court upon Defendants’ Motions for a Revised

  Pre-Trial and Trial Schedule [ECF Nos. 160, 167, 183]. The Court has reviewed the Motions, the

  Special Counsel’s Responses in Opposition [ECF Nos. 165, 173, 187], the additional filings on the

  subject, including the various responses to the Standard Discovery Order [ECF Nos. 30, 59, 80,

  92, 113, 122, 143, 158, 172, 178, 184, 190–191, 199, 204], the classified supplements to these

  materials, and the full record. The Court also held a hearing on the Motions on November 1, 2023

  [ECF No. 205].

         Following review, it is ORDERED AND ADJUDGED as follows. Defendants’ Motions

  to Continue Pre-Trial Deadlines are GRANTED IN PART for the reasons stated below.

  Defendants’ Motion to Continue Trial, currently set for the two-week period commencing on May

  20, 2024, is DENIED WITHOUT PREJUDICE, to be considered at a scheduling conference on
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  March 1, 2024, following the initial set of pre-trial and CIPA steps in this proceeding as outlined

  below.

                                           BACKGROUND

           Before addressing the instant Motions, the Court reviews the material developments in this

  case since the issuance of the Court’s July 21, 2023, Scheduling Order [ECF No. 83].

           On July 21, 2023, the Court granted in part the Special Counsel’s Motion to Continue Trial,

  resetting deadlines in accordance with a detailed schedule of CIPA and pre-trial deadlines

  [ECF No. 83 (granting ECF No. 34 in part)]. The Court’s decision followed full briefing and a

  hearing, during which the parties addressed estimates of the voluminous classified and unclassified

  discovery in this case; preliminary particulars related to CIPA; and extensive pre-trial motions

  anticipated by Defendants, including on certain issues not meaningfully developed in caselaw

  [ECF Nos. 32, 34, 66, 76, 209].

           On July 27, 2023, after the foregoing hearing and entry of the Court’s Scheduling Order

  [ECF No. 83], a grand jury returned the operative Superseding Indictment [ECF No. 85]. The

  Superseding Indictment added a third Defendant to the case, Carlos De Oliveira, and added an

  additional count and other allegations—yielding a total of 42 counts [ECF No. 86]. Following a

  reasonable period of time to obtain appearances of counsel, Defendant De Oliveira was arraigned

  on August 15, 2023 [ECF Nos. 89, 91, 99, 108–110, 112, 121]. Defendants Trump and Nauta

  were arraigned on the Superseding Indictment on August 10, 2023 [ECF Nos. 106–107].

           In the months that followed, the Special Counsel moved for separate Garcia hearings to

  address potential conflicts of interest as to counsel for Defendants Nauta and De Oliveira

  [ECF Nos. 97, 123, 126, 129, 134–135, 137, 144–145]. The Court granted those motions after

  substantial briefing—resulting in two Garcia hearings, one of which was continued to address



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  newly raised arguments on the scope of the alleged conflicts [ECF Nos. 181–182, 185–186, 189,

  193–194, 198]. The Special Counsel also filed contested motions for entry of a protective order

  governing classified information [ECF Nos. 79, 82, 84, 104–105, 120, 127, 144, 150–152]. Those

  motions, styled under CIPA Section 3, similarly resulted in extensive filings as referenced herein,

  including supplemental briefing on the scope of CIPA Section 3 and a sealed hearing—all as a

  prerequisite to review of classified discovery in this case [ECF Nos. 149, 153, 162–164]. Also

  during this period, the Court addressed the manifest complexity of this proceeding in connection

  with Speedy Trial Reports, further reiterating the Court’s complex case designation and ends-of-

  justice finding under the Speedy Trial Act [ECF No. 154 (see ECF No. 83 pp. 1–3)].

         Turning to the substance of discovery, the record as it has developed in this case reflects

  an unusually high volume of unclassified and classified discovery, even as far as CIPA cases go,

  along with challenges associated with storing and handling particular information at issue in the

  Superseding Indictment [ECF Nos. 30, 59, 80, 92, 113, 122, 143, 158, 172, 184, 190–191, 199,

  204]. These matters have been aired at nearly every hearing conducted to date, first during the

  initial scheduling conference on July 18, 2023 [ECF No. 209]; then during a sealed CIPA Section

  3 hearing on September 12, 2023 [ECF No. 149]; and most recently during the November 1, 2023,

  hearing when discovery figures were presented in a more complete and current form

  [ECF No. 205].    All told, by latest numbers, the Court is advised that this case involves

  approximately 1.3 million pages of unclassified discovery, approximately 60 terabytes of closed-




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  circuit television footage spanning at least nine months, 1 and 5,500 pages of classified discovery. 2

  The volume and timing of these materials has outpaced initial estimates and required

  supplementation, both in the normal course and also to correct inadvertent omissions in the Special

  Counsel’s productions. And, as far as classified discovery is concerned, the full scope of such

  information, including discovery directly pertinent to the substantive counts in the Superseding

  Indictment, was made available to defense counsel only recently on October 17, 2023, further

  contributing to delays in defense review. In the meantime, the Litigation Security Group remains

  in the process of managing various issues associated with document review in this case, including

  read-and-return requirements that have presented unique logistical hurdles not commonly present

  in CIPA litigation. And finally, counsel for Defendant Nauta did not receive final clearance to

  review classified discovery until October 25, 2023, precluding him from any classified discovery

  review. 3

           In the midst of the foregoing, the process of establishing an accredited facility in the

  Northern Division of this District remains in progress, slated to be completed in early 2024. The

  investigation in this case commenced in February 2022, but no efforts were taken to initiate in

  earnest the establishment of such a facility until after this case was indicted—adding additional

  logistical challenges.




  1
   Defense counsel advised during the November 1, 2023, hearing that data stored in the folders
  downloads and processes at a very slow rate, making review cumbersome, and requiring additional
  equipment.
  2
   The Special Counsel also has produced several disks containing approximately three gigabytes
  of classified information. The Special Counsel reports that the material on the disks is duplicative
  of the 5,500 pages of classified material produced in hard copy.
  3
      Final read-ins remain pending for such counsel as well.
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         Finally, following the Court’s November 1, 2023, Order on CIPA Section 3 [ECF No. 202],

  anticipated CIPA Section 4 litigation in this case will be, without dispute, more robust than initially

  forecasted by the Special Counsel prior to entry of the July 21, 2023 Scheduling Order. The

  Special Counsel seeks to withhold from Defendant Trump an unidentified amount of information

  marked as classified; seeks to withhold from Defendant Nauta all but one page of the 5,500 pages

  marked as classified; and seeks to withhold the entirety of the classified information from

  Defendant De Oliveira. These matters will be the subject of CIPA Section 4 litigation to begin in

  accordance with this Order and will necessitate detailed Court review of a significant volume of

  information, plus more briefing/hearings following contested defense motions to compel.

           All of this leads to the instant Motions. Defendants seek a revised schedule of pre-trial

  deadlines in this case, citing various reasons: delays and omissions in the production of discovery

  from initial commitments by the Special Counsel (including on materials related to charged

  counts); sizeable increases in the quantity of unclassified and classified discovery from earlier

  estimates; inability to access some of the classified discovery until October 17, 2023; contested

  motions to compel discovery that have only now started to come into focus; substantial disputed

  CIPA Section 4 litigation; difficulties reviewing subcategories of the classified discovery; the

  absence of a secure facility in the Northern Division; and conflicting schedules in other pending

  cases involving Defendant Trump [ECF Nos. 160, 167, 178, 183]. Defendants also request an

  adjournment of trial now, largely for the same reasons [ECF No. 167]. In opposition, the Special

  Counsel recognizes the need to continue some of the pre-trial deadlines, acknowledges some

  delays in the production and review of classified discovery, and recognizes the high volume of

  discovery in this case. But the Special Counsel opposes any material adjustment to the current

  deadlines on the view that “nothing material has changed since the Court set the trial date”



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  [ECF No. 165 p. 1]. The Special Counsel also disputes Defendants’ contention that CIPA Section

  4 litigation should come, at least in its initial form, after motions to compel discovery, a point on

  which the Court agrees [ECF No. 165].

                                            DISCUSSION

         The Court has reviewed the instant Motions and the full record. Upon full consideration,

  the Court deems it most prudent, given the evolving complexities in this matter, to adjust the first

  batch of pre-trial deadlines as specified in the chart below and to deny without prejudice

  Defendants’ premature Motion to adjourn the trial date. The Court reasons as follows.

         First, and most significantly, the quantity of discovery in this case remains exceedingly

  voluminous, even more so than initially thought. To be sure, the Special Counsel has taken various

  steps to produce discovery on a regular basis. But even with these efforts, discovery has increased

  sizably from initial estimates; classified discovery did not become available to Defendants in its

  complete form (including on substantive counts) until October 17, 2023; clearance and read-in

  procedures have only recently reached near-closure for assembled counsel of record; and discovery

  review as a whole has generated concrete challenges given the sheer amount of the materials and

  the sensitivities of the information involved. These evolving and unforeseen circumstances require

  a reevaluation of the initial period for defense discovery review as contemplated initially in the

  Court’s July 21, 2023, Order. And they make plain to the Court what due process requires:

  Defendants need more time to review the discovery in this case. This Order aims to afford that

  opportunity in a reasonable fashion, balanced against the public’s right to a speedy trial.

         Second, although initially projected as minimal, CIPA Section 4 litigation in this case, as

  properly understood under the text of the statute, will require more time for party briefing and

  Court review given the volume of information sought to be deleted from Defendants. This process,



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  to be conducted ex parte absent special circumstances to the contrary, is not simple, and it must be

  done carefully and in a manner attuned to the sensitive nature of the information involved and to

  the competing legal theories of the case as presented by all sides.

         Third, Defendants represent that they intend to seek to compel discovery not only from the

  Special Counsel and the Federal Bureau of Investigation but also from other government agencies

  [ECF No. 160 p. 10; ECF No. 183 p. 6]. Without expressing any view on the merits of those

  anticipated motions, it is evident that the parties are at odds on significant issues related to the

  scope of discoverable information in this case, and that such disagreements will require substantial

  judicial intervention. This too adds complexity to this case, both as a matter of briefing, Court

  review, and future rounds of CIPA Section 4 litigation.

         Fourth, although less important at this stage, the Court cannot ignore the realities of pre-

  trial and trial schedules in two other criminal matters identified by defense counsel: United States

  v. Trump, No. 23-cr-257 (D.D.C. 2023), in the United States District Court for the District of

  Columbia, in which Defendant Trump faces trial currently scheduled to begin on March 4, 2024,

  estimated to last anywhere from four to eight weeks (possibly more), and People v. Trump, Index

  No. 71543/2023 (N.Y. Sup. Ct. 2022), a separate criminal case in the state of New York, initiated

  prior to this case and currently scheduled for trial on March 25, 2024. Defendant Trump recently

  filed an opposed motion to stay in the District of Columbia, and a scheduling conference in the

  New York matter reportedly is set for late February 2024. Although the Special Counsel is correct

  that the trajectory of these matters potentially remains in flux, the schedules as they currently stand

  overlap substantially with the deadlines in this case, presenting additional challenges to ensuring

  Defendant Trump has adequate time to prepare for trial and to assist in his defense.




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         For these reasons, consistent with the rationale set forth in the Court’s earlier Scheduling

  Order [ECF No. 83], and in consideration of material developments in this proceeding to date, the

  Court resets the first set of pre-trial deadlines as follows and sets a scheduling conference to

  address remaining deadlines in a reasoned manner. In reaching these conclusions, the Court has

  conducted a careful review of the CIPA cases cited by the parties, and has surveyed the CIPA

  landscape as a whole, to better understand the parties’ competing positions and to provide broader

  context. Having done so, and finding no comparable CIPA case presenting the combination of

  factors discussed herein, the Court is confident that the adjustments below appropriately reflect

  the needs of this case and more than accord with the pace of complex CIPA litigation generally.

              REVISED SCHEDULE FOR INITIAL SET OF PRE-TRIAL DEADLINES

         All previously remaining deadlines in the Court’s July 21, 2023, Order are superseded

  except calendar call and trial. Additional deadlines and hearings to be set and noticed as necessary.


             Completion of Security Clearances and Read-Ins                  November 16, 2023


           Special Counsel’s CIPA Section 4 Motions (Ex Parte)               December 4, 2023

                        Any Defense Motion Related
                                                                             December 4, 2023
                    to Ex Parte Nature of CIPA Section 4
           Defense Response to Special Counsel’s Motion
                                                                             December 29, 2023
            for Disclosure of Advice of Counsel Defense

                    Joint Discovery Status Report                              January 9, 2024


            Special Counsel’s Rule 16 Expert Disclosures                      January 12, 2024


               Defense Motions to Compel Discovery                            January 16, 2024


               Defense Challenge to Section 4 Motions                         January 23, 2024



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      Special Counsel’s Response to Defense Motions to Compel                   February 2, 2024


                     Hearing on Section 4 Motions                             February 15–16, 2024


                            Pretrial Motions 4                                  February 22, 2024


                        Scheduling Conference                                     March 1, 2024



          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 10th day of November

  2023.




                                                         _________________________________
                                                         AILEEN M. CANNON
                                                         UNITED STATES DISTRICT JUDGE


  cc:     counsel of record




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    To the extent there is overlap between anticipated pretrial motions and motions in limine (not
  covered in this initial set of deadlines), the filing party should so advise the Court prior to the pre-
  trial motion deadline.
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